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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 GENE A. LOVE, SR.                                                  CIVIL ACTION
 VERSUS                                                             NO: 15-550

 GREATWIDE DEDICATED                                                SECTION: “A”(3)
 TRANSPORT III, LLC


                                     ORDER OF DISMISSAL

        The Court having been advised by counsel for the parties that all of the parties to this action

have firmly agreed upon a compromise,

        IT IS ORDERED that this action is hereby dismissed without costs, but without prejudice

to the right upon good cause shown, within sixty (60) days, to seek summary judgment enforcing

the compromise if it is not consummated by that time. During this sixty day period, the Court

retains jurisdiction for all purposes, including enforcing the settlement agreement entered into by

the parties.

        COUNSEL ARE REMINDED THAT IF WITNESSES HAVE BEEN SUBPOENAED,

EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT TO APPEAR.

        November 2, 2015

                                               _________________________________
                                                         Judge Jay C. Zainey
                                                       United States District Court
